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                       UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA

 AMANDA BRENNAN,

                      Plaintiff                   CIVIL ACTION NO. 3:21-cv-01678

        v.                                                (MEHALCHICK, J.)

 CENTURY SECURITY SERVICES

                      Defendant.


                                    MEMORANDUM

       Before the Court is a motion for summary judgment filed by Defendant Century

Security Services (“Century”). (Doc. 55). This case was initiated by Plaintiff Amanda

Brennan (“Brennan”) against Century on September 29, 2021. (Doc. 1). For the following

reasons, Century's motion for summary judgment shall be DENIED. (Doc. 55).

I.     BACKGROUND AND PROCEDURAL HISTORY

       Brennan filed the operative amended complaint in this matter on June 15, 2022 (Doc.

23). In her amended complaint, Brennan alleges that during her employment with Century as

a security guard she suffered from disparate treatment, harassment, retaliation, sexual

discrimination, negligent hiring and retention, and violations of the PHRA, all arising from

her treatment by Century following a report of sexual harassment by her supervisor. (Doc.

23). Century filed a motion to dismiss the amended complaint (Doc. 24), which the Court

granted in part and denied in part. (Doc. 31). Only Brennan’s Title VII retaliation claim

remains pending before this Court. (Doc. 31). Currently before the Court is Century’s motion

for summary judgment filed on September 3, 2024. (Doc. 55; Doc. 56). Brennan filed a brief
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in opposition to the motion on September 17, 2024. (Doc. 59). The motion for summary

judgment is fully briefed and ripe for disposition.

II.    LEGAL STANDARDS

       Under Rule 56 of the Federal Rules of Civil Procedure, summary judgment should be

granted only if “there is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A fact is “material” only if it might

affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A

dispute of material fact is “genuine” if the evidence “is such that a reasonable jury could return

a verdict for the non-moving party.” Anderson, 477 U.S. at 248. In deciding a summary

judgment motion, all inferences “should be drawn in the light most favorable to the non-

moving party, and where the non-moving party’s evidence contradicts the movant’s, then the

non-movant’s must be taken as true.” Pastore v. Bell Tel. Co. of Pa., 24 F.3d 508, 512 (3d Cir.

1994). However, a party opposing a summary judgment motion must comply with Local Rule

56.1, which specifically directs the oppositional party to submit a “statement of the material

facts, responding to the numbered paragraphs set forth in the statement required [to be filed

by the movant], as to which it is contended that there exists a genuine issue to be tried”; if the

nonmovant fails to do so, “[a]ll material facts set forth in the statement required to be served

by the moving party will be deemed to be admitted.” See M.D. Pa. L.R. 56.1.

       A federal court should grant summary judgment “if the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any, show

that there is no genuine issue as to any material fact and that the moving party is entitled to a

judgment as a matter of law.” Farrell v. Planters Lifesavers Co., 206 F.3d 271, 278 (3d Cir. 2000).

In deciding a motion for summary judgment, the court’s function is not to make credibility




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determinations, weigh evidence, or draw inferences from the facts. Anderson, 477 U.S. at 249.

Rather, the court must simply “determine whether there is a genuine issue for trial.” Anderson,

477 U.S. at 249.

       The party seeking summary judgment “bears the initial responsibility of informing the

district court of the basis for its motion,” and demonstrating the absence of a genuine dispute

of any material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). If the movant makes

such a showing, the non-movant must go beyond the pleadings with affidavits or declarations,

answers to interrogatories, or the like to demonstrate specific material facts which give rise to

a genuine issue. Fed. R. Civ. P. 56(c); Celotex, 477 U.S. at 324. The non-movant must produce

evidence to show the existence of every element essential to its case, which it bears the burden

of proving at trial, because “a complete failure of proof concerning an essential element of the

nonmoving party's case necessarily renders all other facts immaterial.” Celotex, 477 U.S. at

323.

III.   DISCUSSION

       A. TITLE VII RETALIATION

       The courts apply the McDonnell Douglas burden-shifting framework to assess retaliation

claims under Title VII. Daniels v. Sch. Dist. of Phila., 776 F.3d 181, 192–93 (3d Cir. 2015) (citing

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973)). Under the McDonnell Douglas

framework, the plaintiff bears the initial burden of establishing a prima facie case of retaliation.

If the plaintiff establishes a prima facie case, the burden then shifts to the defendant “to

articulate some legitimate nondiscriminatory reason” for the alleged retaliatory action.

McDonnell Douglas, 411 U.S. at 802. Finally, if the defendant manages to rebut the plaintiff's

prima facie case, the burden shifts back to the plaintiff to prove by a preponderance of the




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evidence that the legitimate reasons offered by the defendant were merely a pretext for

retaliation. Shaner v. Synthes, 204 F.3d 494, 500 (3d Cir. 2000) (citing Tex. Dep't of Cmty. Affairs

v. Burdine, 450 U.S. 248, 252-53 (1981)).

             1. Prima Facie Case of Retaliation

       To establish a prima facie claim for retaliation, Brennan must demonstrate “(1) [that

she engaged in] protected employee activity; 1 (2) [an] adverse [employment] action by the

employer either after or contemporaneous with the employee's protected activity; and (3) a

causal connection between the employee's protected activity and the employer's adverse

action.” Daniels v. Sch. Dist. of Phila., 776 F.3d 181, 193 (3d Cir. 2015) (citations omitted). Title

VII protects those who openly oppose workplace discrimination and illegal practices. See

Daniels v. Sch. Dist. of Philadelphia, 776 F.3d 181, 193-94 (3d Cir. 2015); see generally Curay-

Cramer v. Ursuline Acad. of Wilmington, Delaware, Inc., 450 F.3d 130 (3d Cir. 2006).

             a. Adverse Action

       In order to demonstrate that an adverse employment action was taken subsequently or

contemporaneously with the protected action, the plaintiff must show that “the employer's

action was ‘materially adverse’ in that it ‘might well have dissuaded a reasonable worker from

making or supporting a charge of discrimination’” Culler v. Shinseki, 840 F. Supp. 2d 838, 846

(M.D. Pa. 2011) (quoting Moore v. City of Philadelphia, 461 F.3d 331, 342 (3d Cir. 2006) (internal

citations omitted)). “Whether an action is materially adverse ‘depends upon the

circumstances of the particular case, and should be judged from the perspective of a




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        The parties agree that Brennan reporting sexual harassment to her employer was a
protected activity to satisfy the first prong of a prima facie Title VII retaliation claim. (Doc. 56,
at 18; Doc. 59-2, at 6)


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reasonable person in the plaintiff's position, considering all the circumstances.’” Culler, 840 F.

Supp. 2d at 846. A “plaintiff must show that the adverse action was motivated by ‘retaliatory

animus.’” Culler, 840 F. Supp. 2d at 846 (quoting Farrell v. Planters Lifesavers Co., 206 F.3d 271,

281 (3d Cir. 2000)).

       Brennan claims that she suffered three different adverse actions in retaliation for the

report of sexual harassment – termination, reduction in hours, and a denial of compensation.

(Doc. 59-2, 2-4). The Court finds that such actions by an employer could “have dissuaded a

reasonable worker from making or supporting a charge of discrimination” and further, that

the record contains evidence of such adverse action. Barone v. Idexel, Inc., No. 1:22-cv-01232,

2023 WL 146240, at *5 (M.D.Pa. Jan. 10, 2023). First, while Century asserts that Brennan

was fired for excessive absenteeism, construing the facts in the light most favorable to the non-

movant, the Court finds that Brennan has presented sufficient evidence that she was

terminated for reporting the incident of sexual harassment such that a reasonable jury could

find in her favor at trial. (Doc. 59-3, at 89, 93). Second, although Century asserts that

Brennan’s hours were reduced in accordance with Brennan’s own childcare schedule, again

construing the facts in the light most favorable to the non-movant, the Court finds that

Brennan has presented sufficient evidence that her hours were reduced for reporting the

incident of sexual harassment such that a reasonable jury could find in her favor at trial. (Doc.

59-3, at 97-101). Finally, while Century asserts that the withheld pay was due to a banking

error, again construing the facts in the light most favorable to the non-movant, the Court finds

that Brennan has presented sufficient evidence that Century withheld compensation due to

her reporting the incident of sexual harassment such that a reasonable jury could find in her

favor at trial. (Doc. 59-3, at 104-105). Construing the record on adverse action in the light



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most favorable to Brennan as the non-movant, the Court finds that she sets forth sufficient

evidence that she suffered an adverse employment action.

           b. Casual Connection

       Brennan also sets forth sufficient evidence that the adverse actions were causally

connected to her report of sexual harassment. There are “two main factors in finding the

causal link necessary for retaliation: timing and evidence of ongoing antagonism.” Abramson

v. William Paterson C. of N.J., 260 F.3d 265 (3d Cir. 2001) (citing Farrell, 206 F.3d at 281). “The

Third Circuit has instructed that in cases where the temporal proximity between the protected

activity and adverse action is ‘unusually suggestive,’ this timing alone can be sufficient to

establish a prima facie case of retaliation.” Bonson v. Hanover Foods Corp., 451 F. Supp. 3d 345,

358 (M.D. Pa. 2020) (finding that an employee fired in a three-week period of a protected

activity could be inferred on the whole of the evidence to establish causation). To establish

the requisite causal connection a plaintiff usually must prove either (1) an unusually

suggestive temporal proximity between the protected activity and the allegedly retaliatory

action, or (2) a pattern of antagonism coupled with timing to establish a causal link. Lauren

W. ex rel. Jean W. v. DeFlaminis, 480 F.3d 259, 267 (3d Cir. 2007); Krouse, 126 F. 3d at 503–04

(3d Cir. 1997); Woodson v. Scott Paper Co., 109 F.3d 913, 920–21 (3d Cir. 1997). In the absence

of that proof, the plaintiff must show that from the “evidence gleaned from the record as a

whole” the trier of the fact should infer causation. Id.; citing Farrell v. Planters Lifesavers Co.,

206 F.3d 271, 281 (3d Cir. 2000).

       Construing the record in the light most favorable to Brennan as the non-movant, the

Court concludes that a reasonable jury could find a causal connection between Brennan’s

report of harassment and the alleged retaliatory actions. The record contains disputes of



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material fact as to when Brennan was terminated, ranging from the day after her report (Doc.

59-2, at 2-3) to the date of the paperwork stating she was terminated. (Doc. 59-3, at 89, 93).

Further, a jury could find that the evidence shows that until Brennan made the report of

harassment, she had never been given any negative feedback on her work performance. (Doc.

56-2, at 20-21; Doc. 59-3, at 76, 88-89, 116-19). Only after the report was made did she have

issues with her schedule or her compensation being withheld. (Doc. 56-2, at 15, 20-21, 24;

Doc. 59-3, at 88-89, 97-101, 104-105). The Court finds that a reasonable jury could conclude

that these actions were within a time frame so as to be unusually suggestive of retaliatory

motive. See Qin v. Vertex, Inc., 100 F.4th 458, 477 (3d Cir. 2024) (finding that actions within

“the three-month range to be ‘unusually suggestive of retaliatory motive.’”). Therefore, there

is an adequate dispute of material fact regarding the causal connection between the protected

activity and adverse actions.

       In light of the genuine issues of material fact as to adverse actions and causal

connection, summary judgment at step one of the analysis is not warranted; the Court cannot

find as a matter of law that Century did not retaliate against Brennan for making a report of

sexual harassment. Accordingly, the Court will proceed with its review to steps two and three

of the McDonnell Douglas analysis.

          2. Legitimate Non-Retaliatory Reason

       Century’s burden at this stage is “relatively light: it is satisfied if the defendant

articulates any legitimate reason for the adverse employment action; the defendant need not

prove that the articulated reason actually motivated the action.” Krouse v. Am. Sterilizer Co.,

126 F.3d 494, 500–01 (3d Cir. 1997) (internal quotations omitted). Thus, “[t]he proffered

reason need only raise a genuine issue of fact as to whether the employer acted




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impermissibly.” Shellenberger v. Summit Bancorp, Inc., 318 F.3d 183, 189 (3d Cir. 2003).

Century asserts that Brennan had a history of “no-shows” to shifts. (Doc. 56-2, at 20-21, 24).

Further, Century’s work policies state that not showing up for security details, leaving sites

unattended, and not responding to scheduling inquiries in a timely manner are all grounds for

disciplinary action. (Doc. 56-2, at 24). This explanation is sufficient to shift the burden to

Brennan to show pretext for the retaliation.

           3. Pretext for Retaliation

       A plaintiff “must point to some evidence, direct or circumstantial, from which a

factfinder could reasonably either (1) disbelieve the employer's articulated, legitimate reasons;

or (2) believe that an invidious [retaliatory] reason was more likely than not a motivating or

determinate cause of the employer's actions.” Culler, 840 F. Supp. 2d at 850 (quoting Fuentes

v. Perskie, 32 F.3d 759, 764 (3d Cir. 1994)). Brennan proffers evidence from which a jury could

find that Century’s explanation for her termination is false, and that she was terminated in

retaliation for reporting the harassment. (Doc. 56-2, at 4-5, 20-21; Doc. 59-3, at 88-89, 92-95,

97, 116-20). For instance, Brennan asserts that she had never been given any negative

feedback on her work performance until after she reported sexual harassment on October 13,

2020. (Doc. 56-2, at 20-21; Doc. 59-3, at 76, 88-89, 116-19). A reasonable jury could find that

Century’s explanation for her termination, schedule, and compensation issues were

pretextual.

       Viewing the record in the light most favorable to Brennan, the Court finds that genuine

issues of material fact exist at all stages of the analysis of Brennan’s Title VII retaliation claim,

and therefore summary judgment on the claim will be denied.




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       B. PUNITIVE DAMAGES

       A plaintiff's entitlement to punitive damages hinges upon a subjective analysis of “the

actor's state of mind” and requires a thorough consideration of the evidence and testimony

disclosed at trial. Hanes v. Columbia Gas of Pennsylvania Nisource Co., 2008 WL 3853342, at *9

(M.D.Pa. 2008); quoting Kolstad, 527 U.S. at 535; EEOC v. Aldi, Inc., No. 06-1210, 2008 WL

859249, at *19 n. 30 (W.D.Pa. Mar. 28, 2008). As the Court has concluded that Brennan has

has presented sufficient evidence for her Title VII retaliation claim, the issue of punitive

damages is best reserved until the close of evidence at trial, at which time Century may move

for judgment as a matter of law on this issue. Id.; citing Harry v. City of Phila., No. 03-661,

2004 WL 1387319, at *16 n. 24 (E.D.Pa. June 18, 2004); Aldi, 2008 WL 859249, at *19 n. 30.

IV.    CONCLUSION

       For the foregoing reasons, Century’s motion for summary judgment (Doc. 55) is

DENIED. An appropriate Order follows.




Dated: November 15, 2024                                  s/ Karoline Mehalchick
                                                          KAROLINE MEHALCHICK
                                                          United States District Judge




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